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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                     BROWNSVILLE DIVISION

   ESTATE OF JORGE CASTRO,     §
                               §
            Plaintiff,         §
                               §
   v.                          §                        CIVIL ACTION NO. 1:17-cv-126
                               §
   STANDARD GUARANTY INSURANCE §                                  JURY
   COMPANY,                    §
                               §
            Defendant.         §




          JOINT STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

           COME NOW, Plaintiff Estate of Jorge ("Plaintiff'), and Defendant Standard Guaranty

Insurance ("Defendant"), and pursuant to Federal Rule of Civil Procedure 41 (a)( 1)(A)(ii ), hereby

dismiss with prejudice all claims and all associated relief requested in such claims filed in this

case. All costs of court shall be paid by the party incurring same.

                                              Respectfully submitted,




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